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 1                                                        THE HONORABLE THOMAS S. ZILLY

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 6
                         UNTIED STATES DISTRICT COURT FOR THE
 7                         WESTERN DISTRICT OF WASHINGTON

 8
     GLACIER NORTHWEST, INC.,
 9
                           Plaintiff,                   Case No. 2:18-cv-00556-TSZ
10
            v.                                          CEMENTAID INTERNATIONAL
11                                                      MARKETING LTD.’S REQUEST
     CEMENTAID INTERNATIONAL                            FOR JUDICIAL NOTICE IN
12   MARKETING, LTD.,                                   SUPPORT OF MOTION TO
13                                                      DISMISS GLACIER NORTHWEST,
                           Defendant.                   INC.’S AMENDED COMPLAINT
14

15          Pursuant to Federal Rule of Evidence 201, Defendant Cementaid International Marketing,

16   Ltd., (“Cementaid”) requests that the Court take judicial notice of certain documents and facts,

17   attached hereto and cited in the declaration of Jared D. Schuettenhelm, in support of Cementaid’s

18   Motion to Dismiss Glacier Northwest, Inc.’s Amended Complaint.

19   I.    Legal Standard

20          On a motion to dismiss, the Court may, pursuant to Federal Rule of Evidence 201, “take

21   judicial notice of matters of public record outside the pleadings.” MGIC Indem. Corp. v. Weisman,

22   803 F.2d 500, 504 (9th Cir. 1986); Valley Fruit Orchards v. Global Horizons Manpower, Inc., No.

23   CV–09–3071, 2010 WL 1286367, at *2 (E.D. Wash. Mar. 26, 2010). Moreover, a court may take

24   judicial notice of a document, such as a contract, “whose authenticity is not contested and which

25   Plaintiff has relied on his complaint.” Chandola v. Seattle Housing Authority, Case No. C13–557,

26   2014 WL 4540024, at *1 (W.D. Wash. Sept. 11, 2014); Swartz v. KPMG LLP, 476 F.3d 756, 763

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     CEMENTAID’S REQUEST FOR JUDICIAL NOTICE IN                Bracewell LLP 701 Fifth Ave., Suite 6200
     SUPPORT OF MOTION TO DISMISS          -1-                     Seattle, Washington 98104-7043
                                                                Phone 206.204.6200 Fax 800.404.3970
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 1   (9th Cir. 2007) (“[A] court may consider a writing referenced in a complaint but not explicitly

 2   incorporated therein if the complaint relies on the document and its authenticity is unquestioned.”).

 3   II.   Judicial Notice of the Attached Documents is Appropriate

 4          Cementaid requests that the Court take judicial notice of the following documents, which

 5   have been publicly filed in the following actions:

 6             1. Exhibit 1: Plaintiff Millennium Tower Association’s Fifth Amended Complaint,
                  filed on April 16, 2018, in the Superior Court of the State of California, County of
 7                San Francisco (Case No. CGC-557830) (“Millennium Tower Complaint”)

 8             2. Exhibit 2: Webcor Construction LP’s First Amended Cross-Complaint, filed on
                  December 13, 2017, in the Superior Court of the State of California, County of San
 9
                  Francisco (Case No. CGC-17557830) (“Webcor’s Millennium Tower Cross-
10                Complaint”)

11             3. Exhibit 3: Plaintiff Axis Homeowners Association Second Amended Complaint,
                  filed on April 4, 2018, in the Superior Court of the State of California, County of
12                Santa Clara (Case No. 17CV314037) (“Axis Complaint”)
13
               4. Exhibit 4: Almaden Tower Venture, LLC’s and Webcor Construction LP’s Cross-
14                Complaint, filed on May 17, 2018, in the Superior Court of the State of California,
                  County of Santa Clara (Case No. 17CV314037) (“Webcor’s Axis Cross-Complaint”)
15
               5. Exhibit 5: Glacier Northwest, Inc.’s Motion to Quash Webcor Construction Inc.’s
16                Summons and Cross-Complaint, filed on November 28, 2017, in the Superior Court
17                of the State of California, County of San Francisco (Case No. CGC-557830)
            Because these documents constitute matters of public record contained in official court
18
     dockets, this Court may take judicial notice of them. MGIC, 803 F.2d at 504 (taking judicial notice
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     of a motion to dismiss and supporting memorandum); Valley Fruit Orchards, 2010 WL 1286367,
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     at *2 (taking judicial notice of court filings and records). Moreover, judicial notice of the
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     Millennium Tower and Axis Complaints, as well as Webcor’s Millennium Tower and Axis Cross-
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     Complaints, is proper because Glacier Northwest, Inc., has relied on those documents in the
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     Amended Complaint (“Complaint”) filed against Cementaid in this Court. See Chandola, 2014
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     WL 4540024, at *1 (taking judicial notice of documents “which Plaintiff has relied on in his
25
     Complaint”).
26

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 1           Cementaid also requests that the Court take judicial notice of excerpts from the Marketing

 2   and Material Supply Agreement (“Agreement”) between Cementaid and Glacier, which are

 3   reproduced in Paragraphs 3-7 of the Declaration of Jared D. Schuettenhelm in support of

 4   Cementaid’s Motion to Dismiss.1 Because Glacier has relied on the Agreement in raising a breach

 5   of contract claim against Cementaid, judicial notice of these excerpts is proper. Id. (taking judicial

 6   notice of a contract that plaintiff relied on its complaint); Valley Fruit Orchards, 2010 WL

 7   1286367, at *2 (taking judicial notice of contracts because the complaint “necessarily relies on the

 8   contracts for the breach of contract claims.”).

 9   III.   Conclusion

10           For the foregoing reasons, Cementaid requests that the Court take judicial notice of the

11   documents referenced herein.

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     Dated: November 21, 2018                                 Respectfully submitted,
13

14                                                            BRACEWELL LLP

15                                                            By: /s/ Philip J. Bezanson
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16                                                            Jared D. Schuettenhelm, WSBA No. 46181
                                                              701 Fifth Avenue, Suite 6200
17                                                            Seattle, WA 98104-7043
18                                                            Telephone: (206) 204-6200
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19                                                            philip.bezanson@bracewell.com
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                                                              Richard F. Whiteley (pro hac vice pending)
21                                                            Stacianne M. Wilson (pro hac vice pending)
22                                                            711 Louisiana Street, Suite 2300
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24                                                            richard.whiteley@bracewell.com
                                                              staci.wilson@bracewell.com
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26   1
      Because the Agreement has confidential provisions which would necessitate a sealed filing, Cementaid has not
     attached the entire Agreement at this time. Nonetheless, Cementaid can provide the entirety of the Agreement
27   upon the Court’s request.



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 1                                                Attorneys for Cementaid International
                                                  Marketing, Ltd.
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 1                                 CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies that a true and correct copy of the above and foregoing

 3   document has been served on November 21, 2018 to all counsel of record who have consented to

 4   electronic service via the Court’s CM/ECF system.

 5
                                                /s/ Philip J. Bezanson
 6                                              Philip J. Bezanson
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                                                                 Phone 206.204.6200 Fax 800.404.3970
